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                           IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF HAWAII

  PLAINTIFFS CARA BARBER, MELISSA               )        CIVIL NO. 14-00217-HG-RLP
  JONES, MELISSA STREETER, KATIE                )
  ECKROTH, BOB BARBER, TIM JONES,               )
  AND RYAN ECKROTH, On Behalf of                )        ORDER TEMPORARILY UNSEALING
  Themselves and All others Similarly           )        HEARING FOR LIMITED PURPOSE OF
  Situated,                                     )        PREPARING TRANSCRIPT
                                                )
                 Plaintiff(s),                  )
                                                )
         vs.                                    )
                                                )
  OHANA MILITARY COMMUNITIES,                   )
  LLC, FOREST CITY RESIDENTIAL                  )
  MANAGEMENT, INC.; and DOE                     )
  Defendants 1-10,                              )
                                                )
              Defendant(s).                     )
  _____________________________                 )



        ORDER TEMPORARILY UNSEALING HEARING FOR LIMITED PURPOSE OF
                          PREPARING TRANSCRIPT

         Defendant OHANA MILITARY COMMUNITIES, LLC, FOREST CITY

  RESIDENTIAL MANAGEMENT, INC.; and DOE Defendants 1-10’s Request for Leave to

  Obtain Transcript of sealed proceedings held on 06/29/2016, 07/25/16, and 08/15/16 is hereby

  GRANTED.

         It is the ORDER OF THIS COURT that the sealed hearings shall be unsealed for the

  limited purpose of preparing and providing a transcript for Randall C. Whattoff, Attorney for

  Defendant.

         It is FURTHER ORDERED that the sealed hearings shall be resealed thereafter and a

  certified copy of the sealed transcript shall be filed with the Clerk pursuant to 28 U.S.C., Section
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  753(b) and remain sealed until further order of the Court.

          It is FURTHER ORDERED that the receiving party shall not disclose the sealed contents

  of this transcript to anyone other than the representatives of the parties directly concerned with

  this case.

          DATED: Honolulu, Hawaii, on February 9, 2018.




  PLAINTIFFS CARA BARBER, MELISSA JONES, MELISSA STREETER, KATIE
  ECKROTH, BOB BARBER, TIM JONES, AND RYAN ECKROTH, On Behalf of Themselves
  and All others Similarly Situated, vs. OHANA MILITARY COMMUNITIES, LLC, FOREST
  CITY RESIDENTIAL MANAGEMENT, INC.; and DOE Defendants 1-10, 14-cv-00217HG-
  RLP; ORDER TEMPORARILY UNSEALING HEARING FOR LIMITED PURPOSE OF
  PREPARING TRANSCRIPT
